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             UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                    APPLICATION FOR PRO HAC VICE ADMISSION

                                   CONTACT INFORMATION

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Pro hac vice applicants who intend to become               ☐ Admission by Bar Examination
a member of the Utah State Bar, please                     ☐ Admission by UBE Transfer
identify the type of admission are
                                                           ☐ Motion/Reciprocal
you seeking?

                                      BAR MEMBERSHIP

                 Jurisdiction                       Bar Number              Date of Admission
Illinois                                        6201018                   11/9/89
U.S. District Court for Northern Dt of Ill      6201018                   6/11/90
U.S. Court of Appeals for the Seventh Circuit                             4/5/93
U.S.D.C. Western District of New York                                     1/12/201
United States Court of Appeals for the                                    6/29/2012
Second Circuit
U.S.D.C. Southern District of Iowa                                        8/6/14
U.S.D.C. Eastern District of Michigan                                     11/28/11

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Have you ever been the subject of disciplinary action      ☐ Yes          ☒ No
by any bar to which you have been admitted?

If yes, please explain:




            LIST ALL PRO HAC VICE ADMISSIONS TO THE DISTRICT OF UTAH

                  Case Name                            Case Number      Date of Admission




I certify that I am a member in good standing              ☒ Yes         ☐ No
of all bars to which I have been admitted.

I certify that I have read and will comply with            ☒ Yes         ☐ No
the Utah Rules of Professional Conduct and
the Utah Standards of Professionalism and
Civility.

I certify that the foregoing is true and correct           ☒ Yes         ☐ No
and is subject to the penalty of perjury.



/s/ Matthew Crowl_____________                              __7/13/2022___________________
Signature                                                   Date




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